         Case: 22-1149, Document:
 Case 8:22-cv-01454-ODW   Document3-1, Filed:08/05/22
                                    4 Filed   08/03/2022
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                          U.S. Bankruptcy Appellate Panel
                                of the Ninth Circuit
                             125 South Grand Avenue, Pasadena, California 91105
                                              (626) 229-7220


 In Re: JAMIE LYNN GALLIAN                                BAP No.: CC-22-1149

 Bk. Ct. No.: 8:21-bk-11710-ES                            ADV. NO.:



                         NOTICE OF TRANSFER OF APPEAL TO DISTRICT COURT



A party to the appeal has timely filed an objection to the disposition of this matter by the Bankruptcy Appellate
Panel. See 28 USC Section 158. Consequently, this appeal is herewith transferred to U.S. District Court.

Please acknowledge receipt of the case file listed above by signing and returning a copy of this transmittal
form.



Susan M Spraul, BAP Clerk

By: Patti Ippolito, Deputy Clerk
Date: August 3, 2022

                                               Please acknowledge receipt of
                                               the case file listed above.
                                                       8/5/22
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                                                 SACV22-1454-ODW
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cc: Bankruptcy Court
     All Parties
